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                                                                                                                3015-1 Model13Plan 12-2023
                                                                     United States Bankruptcy Court
                                                                         Southern District of Indiana
  In re       Abigail Marie Cox                                                                            Case No.
                                                                                      Debtor(s)            Chapter    13



                                                                         CHAPTER 13 PLAN
                                                                                    Original
                                                                         Amended Plan # (e.g. 1st, 2nd)
                                                                         **MUST BE DESIGNATED**

1. NOTICE TO INTERESTED PARTIES:

The Debtor must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as "Not Include", if neither box is checked, or if both boxes are checked, the provision will be ineffective if set out later in the
plan.

 1.1 A limit on the amount of a secured claim, pursuant to paragraph 8(c), which                           Included        Not Included
 may result in a partial payment or no payment at all to the secured creditor.
 1.2 Avoidance of a judicial lien or nonpossessory, non-purchase money security                            Included        Not Included
 interest. Any lien avoidance shall occur by separate motion or proceeding,
 pursuant to paragraph 12.
 1.3 Nonstandard provisions, set out in paragraph 15.                                                      Included        Not Included

2. GENERAL PROVISIONS:

   (a)    YOUR RIGHTS MAY BE AFFECTED. Read these papers carefully and discuss them with your attorney. If you oppose
   any provision of this plan, you must file a timely written objection. This plan may be confirmed without further notice or hearing
   unless a written objection is filed before the deadline stated on the separate Notice you received from the Court.

   (b) PROOFS OF CLAIM: You must file a proof of claim to receive distributions under the plan. Absent a Court order
   determining the amount of the secured claim, the filed proof of claim shall control as to the determination of pre-petition arrearages;
   secured and priority tax liabilities; other priority claims; and the amount required to satisfy an offer of payment in full. All claims
   that are secured by a security interest in real estate shall comply with the requirements of Federal Rule of Bankruptcy Procedure
   (“FRBP”) 3001(c)(2)(C).

   (c)     NOTICES RELATING TO MORTGAGES: As required by Local Rule B-3002.1-1, all creditors with claims secured by a
   security interest in real estate shall comply with the requirements of FRBP 3002.1(b) and (c) without regard to whether the real
   estate is the Debtor’s principal residence. If there is a change in the mortgage servicer while the bankruptcy is pending, the
   mortgage holder shall file with the Court and serve upon the Debtor, Debtor’s counsel and the Chapter 13 Trustee (“Trustee”) a
   Notice setting forth the change and providing the name of the new servicer, the payment address, a contact phone number and a
   contact e-mail address.

   (d) NOTICES (OTHER THAN THOSE RELATING TO MORTGAGES): Non-mortgage creditors in paragraph 8(c)
   (whose rights are not being modified) or in paragraph 11 (whose executory contracts/unexpired leases are being assumed) may
   continue to mail customary notices or coupons to the Debtor or the Trustee notwithstanding the automatic stay.

   (e)    EQUAL MONTHLY PAYMENTS: As to payments required by paragraphs 7 and 8, the Trustee may increase the amount
   of any “Equal Monthly Amount” offered to appropriately amortize the claim. The Trustee shall be permitted to accelerate payments
   to any class of creditor for efficient administration of the case.

   (f)    PAYMENTS FOLLOWING ENTRY OF ORDERS LIFTING STAY: Upon entry of an order lifting the stay, no
   distributions shall be made on any secured claim relating to the subject collateral until such time as a timely amended deficiency
   claim is filed by such creditor and deemed allowed, or the automatic stay is re-imposed by further order of the Court.

3. SUBMISSION OF INCOME: Debtor submits to the supervision and control of the Trustee all or such portion of future earnings
or other future income or specified property of the Debtor as is necessary for the execution of this plan.

4. PLAN TERMS:

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   (a) PAYMENT AND LENGTH OF PLAN: Debtor shall pay $ $425.00 per month for 60 months to the Trustee, starting not
   later than 30 days after the order for relief, for 60 months, for a total amount of $ 25,500.00 .
   Additional payments to the Trustee and/or future changes to the periodic amount proposed are:
    None.


   (b) INCREASED FUNDING: If additional property comes into the estate pursuant to 11 U.S.C. §1306(a)(1) or if the Trustee
   discovers undisclosed property of the estate, then the Trustee may obtain such property or its proceeds to increase the total amount
   to be paid under the plan. However, if the Trustee elects to take less than 100% of the property to which the estate may be entitled
   OR less than the amount necessary to pay all allowed claims in full, then a motion will be filed, and appropriate notice given.

   (c) CURING DEFAULTS: If Debtor falls behind on plan payments or if changes to the payments owed to secured lenders require
   additional funds from the Debtor's income, the Debtor and the Trustee may agree that the Debtor will increase the periodic payment
   amount or that the time period for making payments will be extended, not to exceed 60 months. Creditors will not receive notice of
   any such agreement unless the total amount that the Debtor will pay to the Trustee decreases. Any party may request in writing,
   addressed to the Trustee at the address shown on the notice of the meeting of creditors, that the Trustee give that party notice of any
   such agreement. Agreements under this section cannot extend the term of the plan more than 6 additional months.

   (d) OTHER PLAN CHANGES: Any other modification of the plan shall be proposed by motion pursuant to 11 U.S.C. §1329.
   Service of any motion to modify this plan shall be made by the moving party as required by FRBP 2002(a)(5) and 3015(h), unless
   otherwise ordered by the Court.

5. PAYMENT OF ADMINISTRATIVE CLAIMS (INCLUSIVE OF DEBTOR’S ATTORNEY FEES):

       NONE
   All allowed administrative claims will be paid in full by the Trustee unless the creditor agrees otherwise.
                           Creditor                                               Type of Claim                         Scheduled Amount
        Flora Ajolayo Owolabi 27422-49                                           Attorney Fees                              $3,298.00

6. PAYMENT OF DOMESTIC SUPPORT OBLIGATIONS:

     (a) Ongoing Domestic Support Obligations:
        NONE

   Debtor shall make any Domestic Support Obligation payments that are due after the filing of the case under a Domestic Support
   Order directly to the following payee:
                   Creditor                              Type of Claim                                 Payment Amount

   (b) Domestic Support Obligation Arrears:

       NONE

   The following arrearages on Domestic Support Obligations will be paid in the manner specified.

                    Creditor                                          Type of Claim               Estimated Arrears              Treatment

7. PAYMENT OF MORTGAGES RELATING SOLELY TO THE DEBTOR’S PRINCIPAL RESIDENCE:

       NONE

   (a) Claims Covered: Only consensual mortgages on the principal residence are treated under this paragraph. All other secured
   claims should be treated under paragraph 8.

   (b) Pre-Petition Arrearage: As required by Local Rule B-3015-1(e), if there is a pre-petition arrearage claim on a mortgage
   secured by the Debtor's principal residence, then both the pre-petition arrearage and the post-petition mortgage installments shall be
   made through the Trustee. Initial post-petition payment arrears shall be paid with secured creditors. If there are no arrears, the
   Debtor may pay the secured creditor directly

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   (c) Treatment: Before confirmation, the payment to the mortgage lender shall be the regular monthly mortgage payment unless
   otherwise ordered by the Court or modified pursuant to an agreement with the mortgage lender. After confirmation, payment shall
   be as set forth below. Equal Monthly Amount and Estimated Arrears listed below shall be adjusted based on the filed claim and/ or
   notice.

                                                                     Estimated                                Mortgage
        Creditor                    Residential Address               Arrears      Equal Monthly Amount       Treatment
   No late charges, fees or other monetary amounts shall be assessed based on the timing of any payments made by the Trustee
   under the provisions of the Plan, unless allowed by Order of the Court.

   (d) Escrow Surplus: An escrow surplus arising as to a mortgage paid by the Trustee shall be returned to the Trustee by the
   mortgage lender or servicer within 30 days of the completion of an annual escrow analysis or other review that determines a
   surplus. The Trustee shall file and serve on the Debtor and claimants a Notice of Proposed Distribution of the escrow surplus,
   provide a 30-day Objection Notice and file a Certificate of Service. If no response is timely filed, the Trustee may treat the escrow
   surplus as set forth in the Notice of Proposed Distribution.

8. PAYMENT OF SECURED CLAIMS OTHER THAN CLAIMS TREATED UNDER PARAGRAPH 7:

   (a) Claims Covered: Secured claims not treated under paragraph 7 are treated under this paragraph, including but not limited to
   delinquent real estate taxes; homeowners' association or similar dues with secured status; sewer liens, and judgment liens that are
   not being fully avoided under paragraph 12. Claims secured by personal property are treated in subparagraphs (b) and (c).
   Treatment of other secured claims is provided for in subparagraph (d).

   (b) Claims Secured by Personal Property as to Which 11 U.S.C. § 506 Valuation Is Not Applicable:

       NONE

   Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation, allowed claims secured
   by personal property as to which valuation under 11 U.S.C. § 506 is not applicable, the Trustee shall pay monthly adequate
   protection payments equal to 1% of a filed secured claim. The Trustee shall disburse such adequate protection payments to the
   holders of allowed claims secured by personal property as soon as practicable after receiving plan payments from the Debtor, and
   the secured claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in paragraph 15, the
   Trustee will pay to the holder of each allowed secured claim the filed claim amount with interest at the rate stated below.

        Creditor                       Collateral                       Purchase          Estimated Claims   Interest         Equal
                                                                          Date                Amount          Rate           Monthly
                                                                                                                             Amount
 Heights Finance                 2016 Honda HRV
     Holdin                        150000 miles                         10/2023               $13,069.00     8.50%            $374.71

   (c) Claims Secured by Personal Property as to Which 11 U.S.C. § 506 Valuation Is Applicable:

    NONE
   Pursuant to Local Rule B-3015-1(c), and unless otherwise ordered by the Court, prior to plan confirmation as to allowed claims
   secured by personal property not treated under subparagraph (d) but as to which 11 U.S.C. § 506 valuation is applicable, the Trustee
   shall pay monthly adequate protection payments equal to 1% of the value of the collateral stated below. The Trustee shall disburse
   such adequate protection payments to the secured creditor as soon as practicable after receiving plan payments from the Debtor, and
   the secured claim will be reduced accordingly. After confirmation of the plan, unless otherwise provided in paragraph 15, the
   Trustee will pay to the holder of each allowed secured claim in the manner set forth below.

      Creditor                   Collateral                    Purchase           Scheduled         Value       Interest         Equal
                                                                 Date               Debt                         Rate           Monthly
                                                                                                                                Amount
   (d) Payment of Other Secured Claims:

        NONE



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   This subparagraph applies to claims secured by real estate not covered in paragraph 7 and to claims secured by personal property
   not covered in subparagraphs (b) or (c) above. Such claims, including those not subject to a monthly payment amount established
   before filing, shall be paid as specified below. (When completing the chart, if a column is not applicable, enter 'n/a').
     Creditor       Collateral/Type of Date Incurred        Estimated        Interest Rate      Equal Monthly             Treatment
                           Debt                              Arrears                               Amount
   (e) Surrendered/Abandoned Collateral:

       NONE

   The Debtor intends to surrender the following collateral. Upon confirmation, the Chapter 13 estate abandons any interest in, and the
   automatic stay pursuant to 11 U.S.C. § 362 is terminated as to, the listed collateral and the automatic stay pursuant to 11 U.S.C.
   §1301 is terminated in all respects. Any allowed unsecured claim resulting from the disposition of the collateral will be treated in
   paragraph 10(b) below. Upon confirmation, the secured creditor is free to pursue its in rem rights.

                           Creditor                                        Collateral         Surrendered/Abandoned            Scheduled Value

9. SECURED TAX CLAIMS AND 11 U.S.C. § 507 PRIORITY CLAIMS:
       NONE

   All allowed secured tax obligations shall be paid in full by the Trustee, inclusive of statutory interest thereon (whether or not an
   interest factor is expressly offered by plan terms). All allowed priority claims shall be paid in full by the Trustee, exclusive of
   interest, unless the creditor agrees otherwise.

                    Creditor                           Type of Priority or Secured Claim               Scheduled Debt                 Treatment
       Internal Revenue Service                                      11 U.S.C. 507(a)(8)                  $1,824.00

10. NON-PRIORITY UNSECURED CLAIMS:
      (a) Separately Classified or Long-term Debts:
           NONE

              Creditor                     Basis for Classification                     Treatment               Amount                   Interest
      (b)           General Unsecured Claims:
               X Pro rata distribution from any remaining funds; or
                  Other:

11. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:
      All executory contracts and unexpired leases are REJECTED, except the following, which are assumed.

  12. PARTIAL OR COMPLETE AVOIDANCE OF LIENS:
           NONE
      Debtor will file a separate motion or adversary proceeding to avoid in whole or in part the following non-purchase money
      security interests, judicial liens, wholly unsecured mortgages or other liens that impair exemptions:
                           Creditor                                         Collateral/Property Description                Basis for Avoidance

13. LIEN RETENTION:
    With respect to each allowed secured claim provided for by the plan, the holder of such claim shall retain its lien securing such
    claim until the earlier of a) the payment of the underlying debt determined under non-bankruptcy law or b) entry of a discharge
    order under 11 U.S.C. § 1328.

14. VESTING OF PROPERTY OF THE ESTATE:
    Except as necessary to fund the plan or as expressly retained by the plan or confirmation order, the property of the estate shall
    revest in the Debtor upon confirmation of the Debtor’s plan, subject to the rights of the Trustee, if any, to assert claim to any
    additional property of the estate acquired by the Debtor post-petition pursuant to operation of 11 U.S.C. § 1306.

15. NONSTANDARD PROVISIONS:

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    NONE

Under FRBP 3015(c), nonstandard provisions are required to be set forth below. Any nonstandard provision placed elsewhere in the
plan is void. These plan provisions will be effective only if the included box in Paragraph 1.3 of this plan is checked.


      All Student loan payments will be paid by the Debtor directly to the Creditor outside the Chapter 13 plan.

 Date:        April 18, 2024


                                                                                  /s/ Abigail Marie Cox
                                                                                  Signature of Debtor
                                                                                  Abigail Marie Cox
                                                                                  Printed Name of Debtor

                                                                                  /s/ Flora Ajolayo Owolabi
                                                                                  Flora Ajolayo Owolabi 27422-49
                                                                                  Signature of Attorney for Debtor(s)

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                                                                                                   Fax: 317-936-3042
                                                                                                 E-mail: flora@owolabilaw.com

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for the Debtor(s) also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in the form plan adopted by this Court,
other than any nonstandard provisions included in paragraph 15.




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